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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES - GENERAL

  Case No.    CV 17-8220-DMG (SKx)                                    Date   December 20, 2019

  Title Agricola Cuyuma SA, et al. v. Corona Seeds, Inc.


  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                Kane Tien                                                Myra Ponce
               Deputy Clerk                                             Court Reporter

     Attorneys Present for Plaintiff(s)                       Attorneys Present for Defendant(s)
           Eduardo A. Maura                                            Peter C.L. Chen
                                                                      Zorik Haruthnian

 Proceedings: DEFENDANT CORONA SEEDS, INC.’S MOTION FOR SUMMARY
              JUDGMENT OR, ALTERNATIVELY, PARTIAL SUMMARY
              ADJUDICATION OF ISSUES [76]

        The cause is called and counsel state their appearance. The Court invites counsel to
 respond to the tentative ruling. The Court hears from Defendant Corona Seeds, Inc. Plaintiffs
 submit on the tentative. The Court advises counsel that the motion will be taken under submission
 and a written order will issue.

         For the reasons stated on the record, Defendants’ ex parte application for an order
 modifying the existing scheduling order and to continue trial [Doc. # 84] is GRANTED in part.
 Attached hereto is the Amended Schedule of Pretrial and Trial Dates continuing the Final Pretrial
 Conference to March 31, 2020 at 2:00 p.m. and the first day of Trial to April 28, 2020 at 8:30
 a.m. The parties shall comply with the Court’s Scheduling and Case Management Order [Doc. #
 45], except to the extent modified by the Amended Schedule. The Court will not look favorably
 on any further requests for continuance.




                                                                                            :18



  CV-90                            CIVIL MINUTES - GENERAL               Initials of Deputy Clerk KT
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Judge Dolly M. Gee
AMENDED SCHEDULE OF PRETRIAL & TRIAL DATES (JURY TRIAL)

Case No.:     CV 17-8220-DMG (SKx)               Title:   Agricola Cuyuma SA, et al. v. Corona Seeds, Inc.,
                                                          et al.

                                 MATTER                                  COURT ORDERED              TIME
                                                                             DATE

TRIAL     [ ] Court [ x ] Jury                                                4-28-20                8:30 a.m.
Duration Estimate: days                                                      (Tuesday)

FINAL PRETRIAL CONFERENCE (FPTC)                                              3-31-20                2:00 p.m.
4 wks before trial                                                           (Tuesday)


                                 MATTER                                        COURT ORDERED DATE

Amended Pleadings and Addition of Parties Cut-Off (includes hearing                        N/A
of motions to amend)

Non-Expert Discovery Cut-Off                                                               N/A
(includes hearing of discovery motions)

Motion Cut-Off (filing deadline)                                                           N/A
Last hearing date for dispositive motions

Initial Expert Disclosure & Report Deadline                                                N/A

Rebuttal Expert Disclosure & Report Deadline                                               N/A

Expert Discovery Cut-Off (includes hearing of discovery motions)                         12-24-19

Settlement Conference Completion Date                                                     3-3-20

Motions in Limine Filing Deadline                                                        3-10-20

Opposition to Motion in Limine Filing Deadline                                           3-17-20

Joint Status Report re Settlement                                                        3-10-20

Proposed Pretrial Conference Order                                                       3-10-20

Contentions of Fact/Law                                                                  3-10-20

Pretrial Exhibit Stipulation                                                             3-10-20

Joint Exhibit List                                                                       3-10-20

Witness Lists & Joint Trial Witness Time Estimate Form                                   3-10-20

Agreed Statement of the Case                                                             3-10-20

Proposed Voir Dire Questions                                                             3-10-20

Joint Statement of Jury Instructions &                                                   3-10-20
Joint Statement of Disputed Instructions

Verdict Forms                                                                            3-10-20
